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                 EXHIBIT A
    REDACTED VERSION OF
   DOCUMENT SOUGHT TO BE
          SEALED
                Case 3:17-cv-00939-WHA Document 900-5 Filed 07/14/17 Page 2 of 3




From:                              Lindsay Cooper <lindsaycooper@quinnemanuel.com>
Sent:                              Thursday, July 13, 2017 10:57 PM
To:                                Meredith Dearborn; QE-Waymo
Cc:                                DG-GPOttoTruckingWaymo@goodwinlaw.com; BSF_EXTERNAL_UberWaymoLit;
                                   UberWaymoMoFoAttorneys; John Cooper
Subject:                           RE: Waymo v. Uber - Sealing in re the Project Chauffeur Bonus Program


Meredith,

There is a process in the Local Rules for handling this kind of situation. If Defendants have any questions about whether
material Waymo has designated as confidential should be sealed, Defendants should seal it. Four days later, Waymo will
file a declaration to support sealing the portions that it contends are sealable. After that, the Court rules and the
parties’ re‐file materials as appropriate.

If you would like to send proposed redactions to us to consider, we will try to do so before the noon filing tomorrow, but
it is difficult to consider your email in the abstract.

Lindsay

From: Meredith Dearborn [mailto:mdearborn@BSFLLP.com]
Sent: Thursday, July 13, 2017 5:54 PM
To: QE‐Waymo <qewaymo@quinnemanuel.com>
Cc: DG‐GPOttoTruckingWaymo@goodwinlaw.com; BSF_EXTERNAL_UberWaymoLit
<BSF_EXTERNAL_UberWaymoLit@BSFLLP.com>; UberWaymoMoFoAttorneys
<UberWaymoMoFoAttorneys@mofo.com>; John Cooper <JCooper@fbm.com>
Subject: Waymo v. Uber ‐ Sealing in re the Project Chauffeur Bonus Program

Counsel:

I write in connection with sealing issues as part of our filings tomorrow. In our briefs, we intend to provide a description
of the Project Chauffeur Bonus Program.

We are aware of the fact that Waymo has produced a document entitled Project Chauffer Bonus Program (WAYMO‐
UBER‐00014078), and that you have designated that document AEO. Part of the reason for writing is to determine if you
are willing to de‐designate that document, which contains some of the information in our brief.

In addition, however, former Google employees would be capable of testifying to and explaining all of the information in
our brief based on their personal recollection. We therefore do not think the information is properly designated as
confidential or needs to be under seal, with one limited exception. The specific information contained in our brief is as
follows:




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We assume you will insist that the                            is Highly Confidential –AEO, and we will treat it as such unless
you say otherwise. Other than that, however, we see no basis for Waymo to claim this information is confidential. These
are facts that will likely be part of the trial testimony of various former Google employees. We believe our recitation of
these facts should be filed in the public record. However, as a courtesy to Waymo, please tell us if you believe we should
redact all of the above information from the public filing. If so, please provide us the justification for that sealing under
Local Rule 79‐5(e).

Thank you,

Meredith


Meredith R. Dearborn
Partner

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